        Case 1:24-vv-00626-UNJ             Document 32         Filed 04/25/25        Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 24-626V



 AIMEE SHER, on behalf of her                               Chief Special Master Corcoran
 daughter, C.S.,
                                                            Filed: March 19, 2025
                        Petitioner,
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Matthew B. Vianello, Jacobson Press P.C., Clayton, MO, for Petitioner.

Alyssa M. Petroff, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On April 22, 2024, Aimee Sher filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine Act”)
on behalf of her minor daughter, C.S. Petitioner alleges that that C.S. suffered Guillain-
Barré syndrome (“GBS”) after receiving an influenza (“flu”) vaccination on September 17,
2022. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On February 20, 2025, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at

1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.   Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
       Case 1:24-vv-00626-UNJ         Document 32       Filed 04/25/25     Page 2 of 2




1. Specifically, Respondent is satisfied that the criteria set forth in the Vaccine Injury Table
and the Qualifications and Aids to Interpretation have been satisfied in the instant case.
Id. at 4-5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                           s/Brian H. Corcoran
                                                           Brian H. Corcoran
                                                           Chief Special Master




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